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Eric L. Cramer (admitted pro hac vice)
Michael Dell’Angelo (admitted pro hac vice)
Patrick F. Madden (admitted pro hac vice)
Mark R. Suter (admitted pro hac vice)
BERGER MONTAGUE PC
1818 Market St., Suite 3600
Philadelphia, PA 19103
Phone: (215) 875-3000/Fax: (215) 875-4604
ecramer@bm.net
mdellangelo@bm.net
pmadden@bm.net
msuter@bm.net

Co-Lead Counsel for the Class and
Attorneys for Individual and Representative Plaintiﬀs
Cung Le, Nathan Quarry, Jon Fitch, Luis Javier Vazquez,
Brandon Vera, and Kyle Kingsbury

[Additional counsel listed on signature page]

                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF NEVADA

Cung Le, Nathan Quarry, Jon Fitch, Brandon              Case No.: 2:15-cv-01045-RFB-BNW
Vera, Luis Javier Vazquez, and Kyle
Kingsbury, on behalf of themselves and all              PLAINTIFFS’ REPLY IN SUPPORT OF
others similarly situated,                              MOTION FOR LEAVE TO FILE A
                                                        SHORT SURREPLY BRIEF
               Plaintiffs,

       vs.

Zuffa, LLC, d/b/a Ultimate Fighting
Championship and UFC,

               Defendant.



       In its Reply in Support of its Motion for Relief Pursuant to the Court’s Inherent Authority

(“Reply”), ECF No. 866, Sparacino PLLC (“Sparacino”) submitted new evidence, in the form of a new

Declaration from a Sparacino attorney and a new letter from its ethics expert. It relied on these new

submissions to bring ad hominem attacks on Class Counsel and to cast unsupported aspersions on the

qualifications of Professor Jeffrey W. Stempel, who submitted an expert declaration in opposition to



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Sparacino’s motion. “New evidence submitted as part of a reply is improper because it does not allow

the [non-movant] an adequate opportunity to respond.” Stiner v. Brookdale Senior Living, Inc., No. 17-

CV-03962-HSG, 2023 WL 2722294, at *14 (N.D. Cal. Mar. 30, 2023). Accordingly, pursuant to Local

Rule 7-2(b), Plaintiffs requested leave to file a brief, 7-page Surreply to address Sparacino’s new and

unauthorized submissions. See ECF Nos. 867, 868.

         In opposing Plaintiffs’ unremarkable request, Sparacino resorts to a now-familiar strategy of

deflection and bombast. Indeed, Sparacino does not contest that it submitted new evidence in its Reply,

nor that it brought new arguments based on these submissions. Similarly, in requesting leave to file its

own “sur-surreply,” Sparacino does not identify any novel arguments in Plaintiffs’ Surreply for which

further briefing is necessary. Instead, Sparacino uses its opposition as an opportunity to rehash its

grievances—now well-documented across two sets of parallel briefing, thanks to Sparacino’s failure to

adhere to this Court’s motion schedule—and again accuse Class Counsel of ill-defined “coercive, and

possibly illegal” conduct. Rather than countenance further distractions from Sparacino’s own improper

conduct, the Court should permit Plaintiffs to file their proposed Surreply and close briefing on this

motion.
    I.        ARGUMENT

         A.     The Court Should Grant Plaintiffs Leave to File Their Brief Surreply Responding
                to Sparacino’s New Evidence and Arguments

         Plaintiffs’ proposed Surreply is an appropriate, narrowly tailored response to the new evidence

submitted in Sparacino’s Reply. Local Rule 7–2 authorizes surreplies with leave of court, see LR 7–

2(b), 1 and courts in this district permit surreplies “to address new matters raised in a reply to which a

party would otherwise be unable to respond.” Bordynuik Inc. v. JBI, Inc., No. 2:13-CV-01463-RFB,

2015 WL 153439, at *4 (D. Nev. Jan. 13, 2015) (Boulware, J.).




1
 Sparacino begins its brief by again misstating the law, quoting a 2015 opinion of this Court for the
proposition that “[n]othing in the Local Rules authorizes surreplies.” Sparacino Opp’n at 1 (quoting
Harkey v. U.S. Bank, N.A., No. 14-cv-00177-RFB, 2015 WL 300271, at *1 (D. Nev. Jan. 21, 2015)).
But the Local Rules were amended in 2016 to expressly authorize surreplies with leave of court. See
LR 7–2(b); Gen. Order 2016-01 at 5 (D. Nev. May 1, 2016).

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       Surreplies are particularly appropriate when a movant presents not only new arguments but also

new evidence in its reply brief. “Generally, reply briefs are limited in scope to matters either raised by

the opposition or unforeseen at the time of the original motion.” Stiner, 2023 WL 2722294, at *14

(quoting Burnham v. City of Rohnert Park, 1992 WL 672965, at *1 n. 2 (N.D. Cal. May 18, 1992)). For

this reason, “where new evidence is presented in a reply to a motion . . . the district court should not

consider the new evidence without giving the nonmovant an opportunity to respond.” Provenz v.

Miller, 102 F.3d 1478, 1483 (9th Cir. 1996) (holding that, when defendant submitted new evidence in

reply brief, the district court erred by both declining to strike the new evidence and refusing to consider

plaintiff’s response to the evidence). Accordingly, courts in this district frequently allow surreplies in

response to new evidence and new arguments contained in reply briefs. See, e.g., HP Tuners, LLC v.

Cannata, No. 18-CV-527, 2022 WL 562625, at *8 (D. Nev. Feb. 24, 2022); Oracle USA, Inc. v. Rimini

St., Inc., No. 10-CV-106, 2016 WL 6208254, at *2 (D. Nev. Oct. 24, 2016); Am. C.L. Union of Nevada

v. City of Las Vegas, 13 F. Supp. 2d 1064, 1071 (D. Nev. 1998).

       Here, Sparacino’s Reply attached several new pieces of evidence as exhibits: a declaration from

a Sparacino attorney disputing that he initiated contact with class member Antonio McKee, along with

several heavily redacted call logs and emails allegedly supporting Sparacino’s narrative, see

Declaration of Eli J. Kay-Oliphant (“Kay-Oliphant Decl.”), ECF No. 866-2; and a new six-page letter

from Sparacino’s ethics expert, see October 3, 2023 letter from Bruce A. Green to Eli Kay-Oliphant,

Esq., ECF No. 866-1 (“Second Green Letter”). Sparacino used this novel evidence – all of which was

readily available to Sparacino at the time of its initial filing – to amplify its attacks on Class Counsel,

accusing Class Counsel of “suborning perjury” and committing “prosecutable crimes under federal and

state law,” Reply at 1, 7, 12, and casting unsupported aspersions on the qualifications and impartiality

of Professor Stempel, see Reply at 3 n.1.

       For the reasons discussed in Plaintiffs’ proposed Surreply, these arguments are baseless. But

more relevant to the instant motion, there is no question that Sparacino’s submissions constitute new

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evidence and arguments presented in reply. Ninth Circuit precedent is clear that “the district court

should not consider the new evidence without giving the nonmovant an opportunity to respond.”

Provenz 102 F.3d at 1483; see also Tovar v. U.S. Postal Serv., 3 F.3d 1271, 1273 n. 3 (9th Cir.1993).

       Sparacino concedes that courts in this District permit surreplies “to address new matters raised

in a reply to which a party would otherwise be unable to respond.” Sparacino Opp’n at 1, ECF No. 881

(quoting Harkey, 2015 WL 300271, at *1). And, notably, Sparacino does not dispute that it submitted

new evidence in its Reply, nor that it brought new arguments based on that evidence. Instead,

Sparacino simply states, in conclusory fashion, that “none of the supposedly new arguments or points

of fact in Sparacino’s Reply . . . overcome the strong presumption disfavoring surreplies.” Id. at 3. But

as Sparacino recognizes, a party’s submission of “new matters . . . in a reply to which a party would

otherwise be unable to respond” is precisely the circumstance in which a surreply is warranted. Harkey,

2015 WL 300271, at *1. In the absence of any genuine dispute, then, Plaintiffs’ motion for leave to file

its Surreply should be granted. 2

       B.      Sparacino Should Not Be Granted Leave to File a Sur-Surreply

       Similarly, Sparacino’s alternative request for leave to file its own “sur-surreply” does not

seriously argue that Plaintiffs’ Surreply raises new issues requiring further briefing. Instead, Sparacino

uses its request as a pretense to smuggle in its substantive responses to Plaintiffs’ Surreply, in an

improper “strategic effort to have the last word on [the] matter.” DEQ Sys. Corp. v. Flexedge Gaming,




2
  Sparacino’s contention that pending oral argument on this motion somehow renders Plaintiffs’
Surreply unnecessary is without support. Indeed, neither of the two out-of-circuit cases Sparacino cites
stands for this proposition. In one of these cases, the plaintiff requested either “oral argument or an
opportunity to submit a sur-reply brief,” such that “[s]cheduling oral argument moot[ed] the request for
a sur-reply.” John Harris P.C. v. Tobin, No. 16-CV-5610 (JGK), 2017 WL 5634728, at *1 (S.D.N.Y.
Nov. 9, 2017). And in the other, the movant’s request to file a surreply was, in fact, granted. See
Shattuck v. Lucero, No. CIV 04-1287 JB/WPL, 2005 WL 2295555, at *3 (D.N.M. Aug. 8, 2005).
Particularly when a party submits not only new arguments but also new exhibits, affidavits, and expert
declarations in its reply brief, it is hard to see how a party could simply “respond” to this wealth of new
evidence at oral argument.

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LLC, No. 12-cv-00442, 2013 WL 12320931, at *1 (D. Nev. Mar. 21, 2013) (quotation omitted).

Indeed, though Sparacino pays lip service to supposed “new arguments in Class Counsel’s proposed

surreply,” Sparacino Opp’n at 3, the “new arguments” it identifies are simply Plaintiffs’ responses to

Sparacino’s own novel evidence. See id. at 3-4. 3 And for each of these so-called “new” arguments,

Sparacino drops a lengthy footnote responding to the Surreply on the merits—in other words, filing the

exact sur-surreply for which it purports to be seeking leave. Id. at 3-4 nn.1-4. By using its Opposition

as a vehicle to respond to Plaintiff’s Surreply, in detail, on the merits, Sparacino not only renders its

requested sur-surreply superfluous but also violates Local Rule 7–2’s prohibition on surreplies “without

leave of court.” LR 7–2(b). The Court should decline to consider Sparacino’s unauthorized responsive

brief, and it should close further briefing on this motion. 4


3
  Specifically, Sparacino cites Plaintiffs’ “protest that there is no evidence Class Counsel acted in bad
faith,” Plaintiffs’ “attempt to salvage their . . . interpretation of Rule 4.2,” and Plaintiffs’ “continued
failure to be candid with the Court regarding Mr. McKee’s correspondence with Sparacino.” Sparacino
Opp’n at 3-4. Even taken on their own terms, none of these plausibly describes a “new” argument,
rather than a direct response to Sparacino’s newly submitted evidence and arguments.
4
  In its unauthorized sur-surreply, moreover, Sparacino continues a concerning pattern of characterizing
and excerpting allegedly favorable portions of its own internal, purportedly privileged documents while
hiding the full context from view. For instance, Sparacino again characterizes the contents of a heavily
redacted internal call log with Mr. McKee, which it attached to its Reply brief in an attempt to
demonstrate that Mr. McKee initiated contact with Sparacino. See Sparacino Opp’n at 4 n.4. Similarly,
Sparacino describes the contents of a “contemporaneous memorandum to file” allegedly corroborating
its claim that Class Counsel threatened to file bar complaints against Scott+Scott and Sparacino. Id. at 3
n.1. But despite its detailed descriptions of these documents’ purported contents, Sparacino hides the
documents themselves behind a shield of privilege, offering only to “show the Court and discuss in
camera” the full, unredacted materials. Id.
        Longstanding Ninth Circuit precedent makes clear, however, that “privilege . . . may not be
used both as a sword and a shield.” Chevron Corp. v. Pennzoil Co., 974 F.2d 1156, 1162 (9th Cir.
1992); see, e.g., Theranos, Inc. v. Fuisz Techs., Ltd., No. C 11-5236 PSG, 2013 WL 2153276, at *4
(N.D. Cal. May 16, 2013) (forbidding defendant from using “favorable communications as a sword
while guarding possibly damaging [related] emails with the shield of the privilege”); see also Fed. R.
Evid. 502(a). Accordingly, by favorably characterizing and submitting portions of these internal
memoranda, call logs, and communications to the Court, Sparacino has waived any otherwise
applicable privilege or work product protection regarding those communications. See, e.g., Wisk Aero
LLC v. Archer Aviation Inc., No. 21CV02450WHODMR, 2023 WL 4029892, at *8 (N.D. Cal. June 14,
2023) (holding that defendant could not favorably characterize the substance of a report while asserting
privilege over the underlying document itself); Server Tech., Inc. v. Am. Power Conversion Corp., No.


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                                              CONCLUSION

       Plaintiffs respectfully request that the Court grant Plaintiffs’ motion for leave to file their

proposed Surreply and close further briefing on this motion.




3:06-CV-00698-LRH, 2011 WL 1447620, at *5 (D. Nev. Apr. 14, 2011) (noting that a party cannot
selectively waive privilege as to only “facts beneficial to its case”). And Mr. McKee, through Class
Counsel who represent him both personally and as a member of the certified class, hereby waives any
otherwise applicable privilege. See, e.g., Exobox Techs. Corp. v. Tsambis, No. 2:14-CV-501-RFB-
VCF, 2014 WL 4987903, at *5 (D. Nev. Oct. 7, 2014) (noting that attorney-client privilege belongs not
to the lawyer but to the client). If Sparacino intends to rely on its self-serving portrayal of this evidence,
it should be required to produce, on the public docket, a) its “contemporaneous memorandum to file”
regarding Scott+Scott, and b) its full records of communications with Mr. McKee with only Mr.
McKee’s personal contact information redacted. Otherwise, Sparacino’s characterizations of these
documents should be disregarded.

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                                      Respectfully Submitted,


                                      By:       /s/ Richard A. Koffman


                                      COHEN MILSTEIN SELLERS & TOLL, PLLC
                                      Benjamin D. Brown (admitted pro hac vice)
                                      Richard A. Koffman (admitted pro hac vice)
                                      Daniel H. Silverman (admitted pro hac vice)
                                      1100 New York Ave., N.W., Suite 500, East
                                      Tower Washington, DC 20005
                                      Phone: (202) 408-4600/Fax: (202) 408 4699
                                      bbrown@cohenmilstein.com
                                      rkoffman@cohenmilstein.com
                                      dsilverman@cohenmilstein.com


                                      JOSEPH SAVERI LAW FIRM, LLP
                                      Joseph R. Saveri (admitted pro hac vice)
                                      Kevin E. Rayhill (admitted pro hac vice)
                                      601 California Street, Suite 1000
                                      San Francisco, California 94108
                                      Phone: (415) 500-6800/Fax: (415) 395-9940
                                      jsaveri@saverilawfirm.com
                                      krayhill@saverilawfirm.com

                                      BERGER MONTAGUE PC
                                      Eric L. Cramer (admitted pro hac vice)
                                      Michael C. Dell’Angelo (admitted pro hac vice)
                                      Patrick F. Madden (admitted pro hac vice)
                                      Najah Jacobs (admitted pro hac vice)
                                      1818 Market Street, Suite 3600
                                      Philadelphia, PA 19103
                                      Phone: (215) 875-3000/Fax: (215) 875-4604
                                      ecramer@bm.net
                                      mdellangelo@bm.net
                                      pmadden@bm.net
                                      njacobs@bm.net

                                      BERGER MONTAGUE PC
                                      Joshua P. Davis (admitted pro hac vice)
                                      505 Montgomery Street, Suite 625
                                      San Francisco, CA 94111
                                      jdavis@bm.net

                                      Co-Lead Counsel for the Class and Attorneys for
                                      Individual and Representative Plaintiffs Cung Le,


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                                      Nathan Quarry, Jon Fitch, Luis Javier Vazquez,
                                      Brandon Vera, and Kyle Kingsbury

                                      KEMP JONES, LLP
                                      Don Springmeyer (Nevada Bar No. 1021)
                                      3800 Howard Hughes Parkway, 17th Floor
                                      Las Vegas, Nevada 89169
                                      (702) 385-6000/Fax: (702) 385-6001
                                      d.springmeyer@kempjones.com

                                      Liaison Counsel for the Class and Attorneys for
                                      Individual and Representative Plaintiffs Cung Le,
                                      Nathan Quarry, Jon Fitch, Luis Javier Vazquez,
                                      Brandon Vera, and Kyle Kingsbury

                                      WARNER ANGLE HALLAM JACKSON &
                                      FORMANEK PLC
                                      Robert C. Maysey (admitted pro hac vice)
                                      Jerome K. Elwell (admitted pro hac vice)
                                      2555 E. Camelback Road, Suite 800
                                      Phoenix, AZ 85016
                                      Phone: (602) 264-7101/Fax: (602) 234-0419
                                      rmaysey@warnerangle.com
                                      jelwell@warnerangle.com

                                      Counsel for the Class and Attorneys for
                                      Individual and Representative Plaintiffs Cung Le,
                                      Nathan Quarry, Jon Fitch, Luis Javier Vazquez,
                                      Brandon Vera, and Kyle Kingsbury




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of October 2023 a true and correct copy of

PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR LEAVE TO FILE A SHORT SURREPLY

BRIEF was served via the District of Nevada’s ECF system to all counsel of record who have enrolled

in the ECF system.



 By:
                                               /s/ Richard A. Koﬀman




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